          Case 2:11-cr-00181-WFN                      ECF No. 979              filed 11/03/15            PageID.3851 Page 1 of 1
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                       Eastern District
                                                      __________        of Washington
                                                                  District of __________

                   United States of America
                              v.                                           )
                                                                           )
                  OMAR FIERRO-VIVEROS                                           Case No:        2:11-CR-0181-WFN-13
                                                                           )
                                                                           )    USM No:         37517-298
Date of Original Judgment:                            11/20/2013           )
Date of Previous Amended Judgment:                                         )    Matthew A. Campbell
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   ’ the defendant ’ the Director of the Bureau of Prisons ’ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ’ DENIED. ’       ✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of          41               months is reduced to              34 months               .
                                             (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                          11/20/2013              shall remain in effect.
IT IS SO ORDERED.

Order Date:                  11/03/2015
                                                                                                         Judge’s signature


Effective Date:                                                     The Hon. Wm. Fremming Nielsen                    Senior Judge, U.S. District Court
                     (if different from order date)                                                    Printed name and title
